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IN THE UNITED STATES DISTRICT COURT\ uN 7 opis \
NORTHERN DISTRICT OF TEXAS

   
  
 

FORT WORTH DIVISION LL .snict COURT
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JOSH EVANS § by — ba
§ _—
VS. g CIVIL ACTION NO. 4:15-CV-688-BJ
§
BIG B. CRANE, LLC, ET AL. §

FINAL JUDGMENT
Pursuant to the order issued this same day and Federal Rule of Civil Procedure 58,
It is hereby ORDERED, ADJUDGED, and DECREED that all claims in the above-styled
and numbered cause are DISMISSED WITH PREJUDICE. All costs under 28 U.S.C. § 1920
shall be taxed against the party incurring the same.

SIGNED June 7, 2016.

 

 
